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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION



UNITED STATES OF AMERICA                                                    PLAINTIFF

vs.                                NO. 4:12CR00014-014 SWW

STEVEN MARCUS KNIGHT                                                        DEFENDANT


                                               ORDER

       The above entitled cause came on for hearing November 17, 2015 on government’s petition

to revoke the supervised release previously granted this defendant in the United States District

Court for the Eastern District of Arkansas. Based upon the statements of counsel and admissions

of defendant, the Court found that defendant has violated the conditions of supervised release

without just cause.

       IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release previously

granted this defendant, be, and it is hereby, REVOKED granting government’s superseding

petition to revoke [doc #693].

       IT IS FURTHER ORDERED that defendant shall serve a term of imprisonment of ELEVEN

(11) MONTHS in the custody of the Bureau of Prisons. The Court recommends that defendant be

incarcerated at Texarkana, Texas or Seagoville, TX to be close to his girlfriend in Clarksville, TX;

and that defendant participate in substance abuse programs and treatment and mental health

counseling during incarceration.

       There will be a term of two (2) YEARS of supervised release following the term of

incarceration with the following conditions:

       1.      Defendant shall follow all standard conditions of supervised release and all
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               previously imposed conditions.

       2.      Defendant shall participate, under the guidance and supervision of the U. S.
               Probation Officer, in a substance abuse treatment program which may include
               testing, out-patient counseling, and/or residential treatment. Further, defendant shall
               abstain from the use of alcohol throughout the course of any treatment.

       3.      Defendant shall participate in mental health counseling under the guidance and
               supervision of the U.S. Probation Office.

       4.      The defendant shall participate in and successfully complete cognitive behavioral
               therapy (CBT) programing under the guidance and supervision of the U.S. Probation
               Office, to include Moral Reconation Therapy (MRT), anger management, and
               substance abuse MRT.

       The defendant is remanded to the custody of the United States Marshal to be transported to

the designated facility for the service of the sentence imposed.

       IT IS SO ORDERED this 18th day of November 2015.

                                                      /s/Susan Webber Wright

                                                      United States District Judge
